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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,            )    CR. NO. 02-00130 HG-01
                                     )
                  Plaintiff,         )
                                     )
            vs.                      )
                                     )
HERMAN LEMUSU,                       )
                                     )
                  Defendant.         )
                                     )
                                     )

 ORDER GRANTING DEFENDANT HERMAN LEMUSU’S MOTION FOR REDUCTION OF
          SENTENCE (COMPASSIONATE RELEASE) (ECF No. 377)


      Defendant is currently incarcerated at Federal Correctional

Institution Terminal Island in California with a projected

release date of January 13, 2023.

      On September 25, 2020, Defendant, proceeding pro se, filed a

Motion requesting a reduction in sentence for compassionate

release pursuant to the First Step Act and 18 U.S.C. §

3582(c)(1)(A).     (ECF No. 377).

      On September 28, 2020, the Court appointed counsel for

Defendant to assist him in seeking compassionate release and

issued a briefing schedule.       (ECF No. 378).

      On October 19, 2020, the Government filed its Response to

Defendant’s Motion.      (ECF No. 383).    The Government sets forth

the standard for compassionate release in its Response and states

that it does not oppose Defendant’s request for compassionate

release given his medical condition, the amount of time remaining


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on his sentence, and the analysis of the Section 3553(a) factors.

(Id.)

      The Court agrees with the standard and reasoning set forth

by the Government in its Response and finds that Defendant has

established extraordinary and compelling reasons for his release.

The sentencing factors set forth in 18 U.S.C. § 3553(a) also

support Defendant’s release.

      Defendant’s MOTION FOR REDUCTION OF SENTENCE (COMPASSIONATE

RELEASE) (ECF No. 377) is GRANTED.


                                CONCLUSION


      Defendant’s Motion For Reduction Of Sentence (Compassionate

Release) (ECF No. 377) is GRANTED to the extent that Defendant’s

term of imprisonment as to each of Counts 1 through 6 is reduced

to TIME SERVED PLUS 14 DAYS to accommodate a quarantine period

with the Federal Bureau of Prisons (“BOP”).

      During the final 14-day period, Defendant Lemusu SHALL be

quarantined to reduce the possibility that he might be infected

and might transmit the COVID-19 virus, especially when traveling

to his approved release residence with family in the Western

District of Washington.      If Defendant Lemusu tests positive for

COVID-19 at any time during this quarantine period, the Bureau of

Prisons shall notify the Government who will immediately notify

the Court so the Order can be modified appropriately.

      At the completion of the 14-day quarantine, Defendant Lemusu

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SHALL be released to begin his term of supervised release under

the supervision of the United States Probation Office in the

Western District of Washington, Tukwila Office.           The previously

imposed five (5) year period of supervised release as to each of

Counts 1 and 3, and three (3) year period of supervised release

as to each of Counts 2, 4, 5, and 6, with all terms of supervised

release to be served concurrently, SHALL remain in effect.

      Defendant Lemusu SHALL abide by all of the mandatory,

standard, and special conditions of supervised release previously

imposed in addition to the following modification to the

mandatory condition relating to the collection of drug tests from

Defendant Lemusu by the Probation Office during the term of

supervision:

      You must refrain from any unlawful use of a controlled
      substance. You must submit to one drug test within 15
      days of commencement of supervision and at least two
      drug tests thereafter but no more than eight valid drug
      tests per month during the term of supervision.

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      Defendant is HEREBY ORDERED to report by telephone to the

United States Probation Office for the Western District of

Washington at (206) 370-8950 within 72 hours of his release from

Bureau of Prisons custody and to request to speak with the duty

officer to schedule a date and time to report for processing into

supervision.    The United States Probation Office for the Western

District of Washington is located at United States Probation

Office, United States Courthouse, 700 Stewart Street, Room 10101,

Seattle, WA 98101-1271.

      IT IS SO ORDERED.

      Dated: October 21, 2020, Honolulu, Hawaii.




United States v. Herman Lemusu, Crim. No. 02-00130 HG-01; ORDER
GRANTING DEFENDANT HERMAN LEMUSU’S MOTION FOR REDUCTION OF
SENTENCE (COMPASSIONATE RELEASE) (ECF No. 377)

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